Case 2:18-ml-02814-AB-PVC Document 327 Filed 06/13/19 Page 1 of 1 Page ID #:12136



  1   Frank P. Kelly, III (SBN: 083473)
      fkelly@shb.com
  2   Amir M. Nassihi (SBN: 235936)
      anassihi@shb.com
  3   H. Grant Law (SBN: 144505)
      hlaw@shb.com
  4   SHOOK, HARDY & BACON L.L.P.
      One Montgomery, Suite 2600
  5   San Francisco, California 94104
      Telephone: 415.544.1900
  6   Facsimile: 415.391.0281
  7   Liaison Counsel for Defendant
      FORD MOTOR COMPANY
  8
  9                            UNITED STATES DISTRICT COURT
 10                           CENTRAL DISTRICT OF CALIFORNIA
 11   IN RE: FORD MOTOR CO. DPS6                    Case No. 2:18-ML-02814 AB (FFMx)
      POWERSHIFT TRANSMISSION
 12   PRODUCTS LIABILITY LITIGATION,                NOTICE OF APPEARANCE
 13
 14   THIS DOCUMENTS RELATES TO:
      ALL CASES
 15
 16   TO THE CLERK OF THE COURT AND ALL COUNSEL OF RECORD:
 17         PLEASE TAKE NOTICE that H. Grant Law, of the firm Shook, Hardy &
 18   Bacon L.L.P. hereby enters appearance on behalf of Defendant Ford Motor Company
 19   in this matter, and request that all pleadings, notices orders, correspondence and other
 20   papers in connection with this action be served upon the undersigned counsel at the
 21   address stated below:
 22                             H. GRANT LAW (SBN: 144505)
                               SHOOK, HARDY & BACON L.L.P.
 23                               One Montgomery, Suite 2600
                                 San Francisco, California 94104
 24
      Dated: June 13, 2019                          Respectfully submitted,
 25                                                 SHOOK HARDY & BACON L.L.P.
 26                                                 By: /s/ H. Grant Law
                                                        H. Grant Law
 27
                                                    Liaison Counsel for Defendant
 28                                                 FORD MOTOR COMPANY

                                                1                       NOTICE OF APPEARANCE
                                                                        2:18-ML-02814 AB (FFMX)
